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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Northern Division)

NATIONAL FEDERATION                              *
OF THE BLIND, INC., et al.,
                                                 *
              Plaintiffs,
                                                 *
v.                                                            Civil Action No. 19-2228-ELH
                                                 *
LINDA H. LAMONE, et al.,
                                                 *
              Defendants.
     *   *   * * * *          *   *   *   *      *    *   *    *   *     *   *   *   *   *   *

                      PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                           DEFENDANTS’ MOTION TO DISMISS




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Dated: September 17, 2019
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                                         INTRODUCTION

        For four consecutive elections, the Maryland State Board of Elections (the “Board”) has

relegated blind voters to a separate and unequal voting system that, because it is poorly used,

fails to ensure the secrecy of blind voters’ ballots and is often more time-consuming and difficult

to access. The Board thus violates Title II of the Americans with Disabilities Act (“ADA” or

“Title II”), 42 U.S.C. §§ 12131–12134, and Section 504 of the Rehabilitation Act of 1973

(“Section 504”), 29 U.S.C. § 794, by denying blind voters an equal opportunity to exercise their

fundamental right to vote and to communicate their votes in an equally effective manner. The

pervasive nature of plaintiffs’ negative voting experiences—over the course of several elections

and at different polling sites—demonstrates that the Board’s failure to provide an equal voting

experience for blind voters stems from its policy of maintaining a separate, lesser used voting

system for individuals with disabilities, not, as the Board 1 claims, from the random negligence of

a few poll workers. Furthermore, despite the Board’s contentions otherwise, there is no legal

safe harbor for the Board’s denial of equal opportunity, nor is there reason to draw factual

inferences in the Board’s favor at this stage.

        For four consecutive elections, the National Federation of the Blind of Maryland (“NFB-

MD”) has brought concerns about these practices to the Board’s attention and asked the Board to

take action to protect blind voters’ civil rights in the next election. Yet for four consecutive

elections, the Board has refused to change its policies, has failed to respond to the NFB-MD’s

attempts to initiate dialogue, and has even opposed proposed legislation supported by the NFB-

MD, and a wide array of other disability rights groups—legislation that would have ended the



1
  Because all defendants in this action are sued in their official capacities with respect to their roles
as Board members or staff, plaintiffs use the terms the “Board” and “defendants” interchangeably
in this memorandum.
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use of separate and unequal voting systems in Maryland. Only this past summer, in response to

plaintiffs’ May 2019 pre-litigation demand letter, did the Board make some minor changes to its

election protocol. In light of the Board’s track record of failing to ensure an equal voting

opportunity for blind voters on the ground, the Board’s tinkering around the edges of its

inherently flawed policy of separate voting systems is simply not good enough.

       The Board complains that plaintiffs are asking for a “wholesale change.” Defs.’ Mem.

Supp. Mot. Dismiss 14, ECF No. 18 (hereinafter “Defs.’ Mem.”). It is true that after four

elections where, despite warnings, election officials have violated blind voters’ federal civil

rights, plaintiffs are not interested in untested cosmetic changes. The persistent nature of the

violations makes clear that only systemic relief will ensure an equal voting experience in future

elections: making ballot marking devices, rather than pens, the default method for voting in

Maryland. This relief is eminently reasonable; indeed, even the Attorney General of Maryland,

who represents the Board, has proposed this solution as a viable option for complying with the

law. And for more than a decade, until 2016, all Maryland voters used machines to vote.

       For similar reasons, defendants’ prematurely raised, fact-intensive, fundamental

alteration affirmative defense is easily dispensed with at this stage. Increasing use of a voting

system already in place in Maryland does not fundamentally alter elections in the state,

particularly where all voters used machines to vote for more than a decade until 2016. The Court

should also reject defendants’ attempt to insert an argument about undue financial burden into

the inquiry into whether plaintiffs’ requested relief is reasonable. Undue burden, too, is a fact-

specific affirmative defense that requires discovery to resolve.

       Finally, the Board’s recent, untested, minor changes to its election protocol do not moot

plaintiffs’ claims. Given the Board’s consistent inability to ensure that its instructions for poll

workers are carried out on the ground, there is little reason to trust that these minor changes will

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effectively stop the pattern of civil rights violations that has plagued the last four Maryland

elections. Defendants fall significantly short of satisfying the heavy burden required to render

plaintiffs’ claims moot. Accordingly, defendants’ motion to dismiss should be denied.

                                    STATEMENT OF FACTS

   I.   Voting in Maryland

        From 2004 until 2016, Maryland required all voters to use electronic voting machines,

which were equipped with accessibility features that gave blind voters non-visual access to the

ballot. Compl. ¶ 20. These voting machines directly recorded and tabulated votes and did not

produce a voter-verifiable paper record. 98 Md. Op. Att’y Gen. 152, 154–55 (Dec. 18, 2013).

        In 2007, Maryland enacted legislation requiring the Board to certify, for elections after

January 1, 2010, voting machines that would generate a paper trail. Compl. ¶ 21; Md. Code

Ann., Elec. Law § 9-102. This legislation also required the Board to ensure that voters with

disabilities could vote at their local precinct on an accessible ballot marking device (“BMD”)

that generated a paper trail, so that they could vote privately and independently. Compl. ¶ 21;

Md. Code Ann., Elec. Law § 9-102. BMDs are machines that allow voters to mark their ballots

electronically, instead of by hand. Compl. ¶ 23. They are equipped with both a touchscreen and

a non-visual interface to allow blind voters to mark their ballots without assistance. Id. BMDs

help prevent common voter mistakes by alerting voters if they have selected too many options

for a particular contest (over-voting) or too few (under-voting). Id. Once voters confirm their

selections, the BMD prints a paper ballot they can then feed into the scanner that tabulates votes.

Id. BMDs do not cast or directly record any votes. Id.

        The 2007 Maryland legislation also specified that the Board must “provide access to

voters with disabilities that is equivalent to access afforded voters without disabilities without

creating a segregated ballot for voters with disabilities.” Md. Code Ann., Elec. Law § 9-

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102(f)(1); Compl. ¶ 21. In 2013, the Maryland Attorney General issued an opinion elucidating

the meaning of the term “segregated ballot” and interpreting § 9-102(f)(1). Compl. ¶ 22; 98 Md.

Op. Att’y Gen. at 152. In this opinion, the Attorney General wrote that “the General Assembly,

by using the term ‘segregated ballot,’ intended to ensure that the ballots cast by voters with

disabilities could not be identified as such during the process of casting, counting, and, if

necessary, re-counting the paper ballots cast in an election.” 98 Md. Op. Att’y Gen. at 152, 153.

The Attorney General presented the Board with three options for certifying a voting system that

would not create a segregated ballot for voters with disabilities: “[1] require all voters to use a

voting system that is accessible to voters with disabilities . . . [; 2] certify an accessible voting

system that generates a ballot that is formally identical to those ballots cast by non-disabled

voters . . . [; or 3] certify an accessible voting system that generates a non-identical ballot, so

long as voting procedures are implemented to ensure that non-disabled voters use the accessible

system as well and do so in sufficient numbers to prevent the resulting ballots from being

identified as having been cast by voters with disabilities.” Id at 153.

        The Board finally transitioned to a paper-based voting system in 2016, choosing to lease

Election Systems and Software’s ExpressVote BMD for use as an accessible alternative to hand

marking paper ballots. Compl. ¶ 23. In adopting a new voting system, the Board followed none

of the Attorney General’s proposed options for complying with Maryland law. Id. The

ExpressVote BMD generates ballots that differ significantly in size, shape, and content from

hand-marked paper ballots. Compl. ¶ 24. While the paper ballots used for hand marking are 8.5

by 11 inches and contain all contest selections, with corresponding bubbles for voters to fill in

with their selections, the ExpressVote paper ballots measure 4.5 by 14 inches and only list the

options the voter selected. Id. Although the ExpressVote ballots are thus readily distinguishable




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from the hand-marked paper ballots used in Maryland, the Board required neither that all voters

nor sufficient numbers of voters without disabilities use the BMDs. Compl. ¶¶ 24–26.

       Instead, since 2016, the Board has presented paper ballots that require hand marking to

all voters as the default voting option, steering almost all voters without disabilities to such

ballots. Compl. ¶ 25. As a matter of policy since 2016, the Board has required that two voters

per precinct use BMDs to mark their ballots; as a matter of practice, however, in every election

since 2016, the Board has failed to meet even this low benchmark in multiple precincts

throughout the state. Compl. ¶¶ 26, 28, 30, 32. 2 In the 2016 general election, there were 34

precincts in which only one voter used the BMD. 3 Compl. ¶ 28. In the 2018 primary election,

despite the NFB-MD alerting the Board of this problem after the 2016 elections, the number of

precincts in which only one voter used the BMD rose to 40. Compl. ¶¶ 28–30. In the 2018

general election, there were 22 precincts in which one ballot was marked using a BMD and 66

precincts in which the BMD was not used at all. 4 Compl. ¶ 32.

    II. The Impact of Board Policy on Blind Voters

       Segregated voting in Maryland has harmed blind voters, including Plaintiffs Joel Zimba,

Ruth Sager, and Marie Cobb. Mr. Zimba was the only voter to use a BMD in his precinct in the

2018 primary election. Compl. ¶ 37. The poll workers at Mr. Zimba’s precinct recognized him

when he came to vote and knew him by name. Id. Thus, unlike Maryland voters without

disabilities, Mr. Zimba had no reasonable expectation that his ballot was secret. Id. While all


2
  This policy would not have protected the secrecy of blind voters’ ballots even had it been
enforced. In any precinct in which the two voters to use the BMD voted for the same candidates,
the choices of the blind voter (and the other voter) would have been revealed.
3
 The Board incorrectly states that plaintiffs allege that 34 precincts had only one ballot marked
using a BMD in the 2018 general election. Defs.’ Mem. 9.
4
 The 2018 general election is the only election for which the Board chose to collect and release
data on the number of precincts in which BMDs were not used at all. Compl. ¶ 32.

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Marylanders without disabilities will go to vote in 2020 confident that their voting selections will

remain anonymous, Mr. Zimba is concerned that he will again be deprived of a secret ballot. Id

at ¶ 38.

           In every election since 2016, Plaintiff Marie Cobb has experienced avoidable delays

when voting, ranging from a half hour to an hour, caused by poll workers unfamiliar with how to

set up and operate the BMD. Compl. ¶ 41. Poll workers at Ms. Cobb’s precinct have told her

that they never received training on how to set up or use the BMD. Id. In both the 2016 and

2018 general elections, when Ms. Cobb voted on election day, she had to set up the BMD

herself, without the assistance of poll workers. Id. In the 2016 general election, she even had to

enlist the help of her 13-year-old granddaughter, who discovered that, although Ms. Cobb’s

precinct had been open for hours, the only BMD was not plugged in and the cord was still

wrapped and affixed to the back of the machine. Id. Ms. Cobb’s granddaughter had to plug in

the machine, at which point an NFB employee Ms. Cobb had contacted by phone gave her

instructions on how to use it. Id.

           The Board denied Plaintiff Ruth Sager the right to vote privately and independently

altogether. When Ms. Sager voted during the November 2018 general election, the poll workers

at her precinct informed her that the only BMD was broken and that she should have her

husband, who was sighted, fill out her ballot for her. Compl. ¶ 39. Ms. Sager was not

comfortable with this option, so the poll workers assisted her with voting instead. Id. The first

poll worker who assisted Ms. Sager was unable to read her ballot properly or correctly record her

choices, requiring Ms. Sager to request assistance from another poll worker. Id. Ms. Sager thus

had to divulge her voting selections to two poll workers to exercise her right to vote in the

November 2018 election. Id.




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   III. The Board’s Recent Policy Changes

       After years of writing letters, testifying at Board meetings, and pushing corrective

legislation (opposed by the Board) in a vain attempt to get the Board to take the persistent issue

of unequal and non-anonymous voting experiences for blind voters seriously, plaintiffs sent the

Board a final demand letter in May 2019. Compl. ¶¶ 27–34. Faced with the prospect of a

lawsuit, the Board, in June 2019, increased the number of voters per precinct required to use

BMDs from two to five, gave permission to local boards of elections to place up to two BMDs at

polling sites on elections day (but did not require it), and directed staff to “increase training of

election judges around how voters are notified about the availability of the BMDs.” Defs.’ Mem.

13. In July 2019, the Board changed the statement that poll workers are supposed to deliver to

all voters when they check in to vote to neutrally present hand-marking or the BMD as two

options for voting. Id.

       Despite these paper changes, there is no evidence, and no reason to believe, that the

Board will ensure that five voters at each precinct use a BMD on election day, when over the

course of four consecutive elections, it has never succeeded in ensuring that at least two voters

use the machine at all precincts. Compl. ¶ 35. Furthermore, the Board’s changes—particularly

capping the number of BMDs that can be offered at each polling site to two (and not even

requiring that more than one machine be deployed)—ensure that voters seeking to use the BMDs

will encounter delays, discouraging their use. Because they will have had little experience with

the BMDs, poll workers will be less familiar with their set-up and operation, causing further

difficulty and delay and perpetuating their underutilization. Compl. ¶ 36. The Board can expect

that the BMDs will continue to be underused or not used at all, as occurred in 66 precincts in the

November 2018 election. Compl. ¶ 32. Plaintiffs therefore proceeded with filing the present




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lawsuit to ensure that they or their members can vote in future elections without sacrificing their

civil right to an equal voting experience, including a secret ballot.

                                    STANDARD OF REVIEW

         A party moving to dismiss a complaint pursuant to Rule 12(b)(6) bears the burden of

demonstrating that the plaintiff’s claims are legally insufficient and that the plaintiff has stated

no claim for relief that is plausible on its face. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). At the motion to dismiss stage, a court must accept as true all well-pled allegations in

the complaint and construe the facts and reasonable inferences that can be drawn therefrom in

the light most favorable to the plaintiff. Hall v. DIRECTV, LLC, 846 F.3d 757, 765 (4th Cir.

2017). Courts do not “resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses” through a Rule 12(b)(6) motion. Edwards v. City of Goldsboro, 178

F.3d 231, 243 (4th Cir. 1999).

                                           ARGUMENT

    I.   Plaintiffs Have Sufficiently Stated Claims Under the ADA and Section 504.
         Plaintiffs have adequately alleged that the Board has violated Title II and Section 504.

To state a claim under either statute, 5 plaintiffs must allege that: (1) they are individuals with

disabilities; (2) they are “otherwise qualified to receive the benefits of” Maryland’s voting

program; and (3) they are “excluded from participation in or denied the benefits of” Maryland’s

voting program, “or otherwise discriminated against, on the basis of [their] disabilit[ies].”

Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 498 (4th Cir. 2005).

Defendants contend only that the third factor is not met here. Because the Board does not protect




5
 Because the standards established by Title II and Section 504 are substantially similar, the Fourth
Circuit analyzes the two statutes together. See Seremeth v. Bd. of Cty. Comm’rs Frederick Cty.,
673 F.3d 333, 336 n.1 (4th Cir. 2012).

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the secrecy of plaintiffs’ ballots, as it does for all other voters, and has made it more time-

consuming and difficult for plaintiffs to vote privately and independently, it has failed to ensure

an equal voting experience for plaintiffs. This is discrimination within the meaning of Title II

and Section 504. Plaintiffs’ requested relief is reasonable; indeed, it aligns with how

Marylanders voted for more than a decade until 2016. Finally, because plaintiffs do not pursue

any claims pertaining only to the 2016 primary election, but rather seek to correct a continuing

violation that began during the 2016 primary and has continued in each election since,

defendants’ statute of limitations argument does not warrant dismissal of any claims.

   A. The Board has deprived plaintiffs of an equal voting experience in violation of the
      ADA and Section 504.

       When Mr. Zimba, Ms. Sager, and Ms. Cobb, along with other NFB and NFB-MD

members, go to vote on election day in Maryland, they cannot be confident that their readily

distinguishable ballots will remain anonymous. Voters without disabilities have no reason to

doubt the secrecy of their ballots. Plaintiffs and NFB members encounter significant delays at

the polls when the BMDs are not adequately set up and/or poll workers cannot give sufficient

instruction on how to operate the machines. Voters without disabilities experience no such

frustrations. And when the one BMD at a plaintiff’s polling place is inoperative, she cannot vote

privately and independently at all. Maryland’s move to a predominately hand-marked paper

ballot system of voting has created a separate and unequal voting system to which plaintiffs and

NFB members are relegated. See Compl. ¶¶ 37–42.

       1. The ADA and Section 504 require an equal opportunity, not merely some
          opportunity, for blind voters to vote.

       When the Board denies plaintiffs a voting experience equal to that enjoyed by voters

without disabilities, it violates Title II and Section 504. Public entities may not “[a]fford a

qualified individual with a disability an opportunity to participate in or benefit from the aid,

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benefit, or service” they provide “that is not equal to that afforded others”; nor may public

entities provide qualified individuals with disabilities “an aid, benefit, or service that is not as

effective in affording equal opportunity” to gain the same result or benefit as provided to others.

28 C.F.R. § 35.130(b)(1)(ii)–(iii); see 28 C.F.R. § 41.51 (b)(1)(ii)–(iii) (substantially similar

Section 504 regulation). Public entities must also provide “appropriate auxiliary aids and

services where necessary to afford individuals with disabilities . . . an equal opportunity to

participate in, and enjoy the benefits of, a service, program, or activity of a public entity.” 28

C.F.R. § 35.160(b)(1). 6 When blind voters, but not sighted voters, must accept the risk that their

ballot will not remain secret in order to vote; when blind voters, but not sighted voters, must call

on outside assistance to vote; and when blind voters, but not sighted voters, must accept needless

delays in order to vote, the state has not given them an equal opportunity to vote.

        The Board’s argument to the contrary is unmoored from the law’s guarantee of equal

opportunity. 7 The Board maintains that “standing alone,” each of plaintiffs’ voting experiences




6
  These regulations are entitled to deference. The Supreme Court has held that the Department of
Health, Education and Welfare’s contemporaneous regulations for Section 504, which mirror the
language of 28 C.F.R. § 41.51, “particularly merit deference” because “the responsible
congressional committees participated in their formulation, and both these committees and
Congress itself endorsed the regulations in their final form.” Consol. Rail Corp. v. Darrone, 465
U.S. 624, 634 & n.14 (1984). Because Congress mandated that the Department of Justice model
the Title II regulations after these Section 504 regulations, the Title II regulations carry “the force
of law.” Helen L. v. DiDario, 46 F.3d 325, 332 (3d Cir. 1995); see Marcus v. Kan. Dep’t of
Revenue, 170 F.3d 1305, 1306 n.1 (10th Cir. 1999). The Fourth Circuit has held that these
“regulations are the agency’s interpretation of the statute, and they are therefore given ‘controlling
weight’ unless they conflict with other departmental regulations or the ADA itself.” Seremeth,
673 F.3d at 338.
7
 Indeed, defendants do not cite 28 C.F.R. § 35.160 or 28 C.F.R. § 41.51 at all, and only cite 28
C.F.R. § 35.130 with respect to the fundamental alteration affirmative defense. See Defs.’ Mem.
17 n.9, 26.


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does not independently amount to a denial of “meaningful access.” Defs.’ Mem. 19–23. 8 Yet

“meaningful access” is not a separate, less demanding standard. Courts interpret it to incorporate

the requirement of equal opportunity set forth in the Title II and Section 504 regulations. See,

e.g., Nat’l Fed’n of the Blind v. Lamone, 813 F.3d 494, 506 (4th Cir. 2016) (hereinafter “Lamone

I”); Disabled in Action v. Bd. of Elections, 752 F.3d 189, 199 (2d Cir. 2014). As the Second

Circuit explained, to find that defendants have provided meaningful access simply because they

have afforded plaintiffs “the opportunity to vote at some time and in some way—would render

meaningless the mandate that public entities may not afford persons with disabilities services

that are not equal to that afforded others.” Disabled in Action, 752 F.3d at 199 (internal

quotation marks, alterations, and citation omitted). Plaintiffs have sufficiently alleged that the

manner in which Maryland forces them to vote denies them the equal opportunity to exercise the

franchise.

       Simply allowing plaintiffs to vote “at some time and in some way” does not satisfy

defendants’ obligations under Title II and Section 504, as the Board believes. Defs.’ Mem. 19–

23. Blind voters have beaten back similar defenses to previous challenges to Maryland’s voting

program. In Lamone I, the Fourth Circuit held that, although blind voters could cast their ballots

either in person or, if absentee, with assistance, the Board deprived blind voters meaningful

access to its absentee voting program because sighted voters need not sacrifice their privacy and

independence to vote absentee. 813 F.3d at 507. Other courts agree that voters with disabilities



8
  The term “meaningful access,” which does not appear in the text of the ADA or Section 504 or
their regulations, stems from Alexander v. Choate, 469 U.S. 287 (1985). There, the Court
interpreted Section 504, which does not set forth a fundamental alteration defense, as requiring
recipients of federal funds to afford “meaningful access” to their programs and activities as a way
of striking a balance between the civil rights of individuals with disabilities and federal grantees’
interest in avoiding fundamental modifications to their programs and activities. See Alexander,
469 U.S. 299–301.

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must have “an equal opportunity to access the program of voting,” not merely some opportunity

to vote. Kerrigan v. Phila. Bd. of Election, No. CIV. A. 07-687, 2008 WL 3562521, at *18 (E.D.

Pa. Aug. 14, 2008) (concluding that although voters with mobility impairments could have their

votes counted at some polling locations, the board of elections violated Title II by failing to

ensure that these individuals had the same opportunity as others to vote at their local polling

locations).

       When voters with disabilities are forced to experience inconveniences or take risks not

imposed on others, they do not have an equal opportunity to vote. See Westchester Disabled on

the Move, Inc. v. Cty. of Westchester, 346 F. Supp. 2d 473, 478 (S.D.N.Y. 2004) (holding that

providing individuals with disabilities limited methods by which to vote “could not reasonably

be construed as consistent with providing ‘meaningful access’ to the voting process, particularly

where the alternatives relied upon by the [d]efendants impose additional costs, risks and

inconveniences on disabled voters not faced by others”); cf. Chaffin v. Kan. St. Fair Bd., 348

F.3d 850, 857 (10th Cir. 2003), overruled on other grounds by Muscogee (Creek) Nation v.

Pruitt, 669 F.3d 1159, 1167 n.4 (10th Cir. 2012) (holding that merely providing individuals with

disabilities access to the state fairgrounds did not provide the level of meaningful access required

under Title II where these individuals were restricted to a particular section); Am. Council of the

Blind v. Paulson, 463 F. Supp. 2d 51, 59 (D.D.C. 2006) (“[P]laintiffs do not need not to prove

‘no access’ to prevail” on a Section 504 claim.). This has long been the understanding of federal

disability law. In Tennessee v. Lane, for example, although the plaintiff could access the

courthouse by crawling up two flights of stairs or allowing court officers to carry him, the

Supreme Court held that his right to equal access to the courthouse under the ADA had been

violated. 541 U.S. 509, 514 (2004). The conditions plaintiffs must endure to exercise their right

to vote matter.

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        Thus, the fact that all plaintiffs were eventually able to vote does not mean that they

suffered “no harm.” Defs.’ Mem. 23. Blind voters’ ability to vote privately and independently

should not—and legally, cannot—be contingent on having sighted family members with them or

outside organizations they can call for assistance. As the Second Circuit reasoned in Disabled in

Action, “[t]he right to vote should not be contingent on the happenstance that others are available

to help.” 752 F.3d at 200. The need for third-party assistance, to which Ms. Cobb and Ms. Sager

were both required to repair, Compl. ¶¶ 39, 41, deprives blind voters an equal opportunity to vote

and is antithetical to the ADA and Section 504’s “emphasis on independent living and self-

sufficiency,” which “ensure[] that, for the disabled, the enjoyment of a public benefit is not

contingent upon the cooperation of third persons.” Am. Council of the Blind v. Paulson, 525 F.3d

1256, 1269 (D.C. Cir. 2008).

        Nor can blind voters be forced to shoulder the risk that their secret ballot will be

compromised in order to vote. Mr. Zimba need not have pled that his ballot was actually

identified during the tally, as defendants would have it. Defs.’ Mem. 20. The right to vote by

secret ballot is, as the Supreme Court has described, “the hard-won right to vote one’s

conscience without fear of retaliation.” McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 343

(1995); see Buckley v. Valeo, 519 F.2d 821, 867 n.117 (D.C. Cir. 1975) (“In this country a

person’s right to vote secretly is inviolate.”), rev’d on other grounds, 424 U.S. 1 (1976). To

enforce the right to vote without fear, courts strike down laws that “operate[] to discourage

citizens from participation in the electoral process simply because they do not wish people to

know how they will vote.” Anderson v. Mills, 664 F.2d 600, 608–09 (6th Cir. 1981) (striking

down law requiring those who sign a petition to place a candidate on the ballot to sign an

unenforceable declaration that they will vote for that candidate). The Board’s policies, which

force blind voters to cast a ballot that can easily be traced to them, are just the sort that

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discourage voting by promoting a fear of disclosure and retaliation. They therefore violate blind

voters’ rights.

        Defendants wander even further afield from the proper standard when they assert that

because some voters who choose to ask for assistance may have their ballot secrecy

compromised, blind voters have no grounds for complaint. Defs.’ Mem. 20. Sighted voters are

given a choice whether to compromise their privacy. Blind individuals are not. That is not

equality. 9

        2. The Board’s policies, not the sporadic negligence of poll workers, have created
           systematic problems in the voting program that deprived plaintiffs of their
           federal rights.

        The Board cannot foist responsibility for the problems plaintiffs have experienced voting

on to its poll workers. Rather than isolated incidents of poll worker “negligence,” as the Board

contends, Defs.’ Mem. 23, plaintiffs have pled a pattern of violations that are the natural

consequence of maintaining a separate, lesser used voting system for individuals with

disabilities. When few people use the BMDs, poll workers do not maintain the knowledge (or

learn in the first place) how to set up and operate the machines. Compl. ¶ 36. When poll

workers do not know how to work the machines, and when there are only one or two machines at

a precinct, fewer people use them. The cycle continues. The ultimate result is the relegation of

blind voters to an unequal voting system.

        The Board’s failure to ensure the secrecy of blind voters’ ballots is a prime example of a

systemic problem, not a mere aberration. In the past three elections, more than 20—and as many

as 40—precincts had only one voter use the BMD. Compl. ¶¶ 28, 30, 32. Although the Board


9
  The Board’s speculation that seeking assistance with the tabulating scanner requires a voter to
reveal her ballot is also an allegation of fact that, if it were relevant, would have to be proven in
discovery. One could imagine, for example, that voters could preserve the secrecy of their choice
by turning their ballot upside down.

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attempts to minimize the scope of the problem, this is not an instance where only one or two

precincts failed to adequately protect ballot secrecy. Nor is this a case where the same precincts

continue to be repeat violators: the Board’s data shows very little overlap in the list of offending

precincts from election to election. See Ex. A to Defs.’ Mem. 21–24, ECF No. 17-2. And the

Board’s data from the 2018 general election reveals that at 66 precincts, the BMDs went totally

unused on election day. Compl. ¶ 32. Had a blind voter gone to vote at any of these precincts,

they also would have had their ballot secrecy compromised.

       The Board’s focus on the overall percentage of problem precincts is unavailing. In

California Council of the Blind v. County of Alameda, the court held that blind voters had

sufficiently stated ADA and Section 504 claims that the County denied them an equal voting

experience based on the plaintiffs’ experiences at 4 out of 787 polling places on election day in

November 2012, or roughly 0.5% of all precincts. 985 F. Supp. 2d 1229, 1233 (N.D. Cal. 2013);

see Polling Place List, Official Election Site of Alameda County,

https://www.acgov.org/rov_app/pollinglist (last visited Sept. 16, 2019) (select November 2012

election from drop-down menu). Regardless of the total percentage of problem precincts, a blind

voter cannot go to vote on election day with the confidence that her ballot will be kept

secret. Because voters without disabilities need not use a method of voting more likely to reveal

their voting selections, Mr. Zimba and other blind voters have suffered and continue to suffer an

unequal voting experience.

       The Board’s characterization of Ms. Cobb’s experiences in November 2016 and

November 2018, when she encountered poll workers unfamiliar with the BMD, as isolated

instances of poll worker “negligence,” Defs.’ Mem. 23, is equally unavailing. It ignores Ms.

Cobb’s allegation that she has encountered difficulty and delay voting in all four elections since

2016. Compl. ¶ 41. Ms. Cobb is not an outlier. Ms. Sager has also had difficulty voting in every

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election since 2016. Compl. ¶ 39. During the November 2018 election, the poll workers

informed her that the one BMD at her polling site was broken, forcing her to divulge her voting

selections to two poll workers in order to cast her vote. Id. She was thus unable to vote privately

and independently at all in the last election. These experiences are attributable to the Board’s

decision to make the BMD a lesser-used alternative to hand-marking paper ballots. If most

Maryland voters used BMDs, poll workers would know how to operate them, more than one

would be required per polling site, and any malfunction would likely be remedied quickly.

       Because Mr. Zimba, Ms. Sager, and Ms. Cobb’s unequal experiences voting in the past

several elections stem from the Board’s policy of maintaining the BMDs as a seldom-used,

alternative voting system, rather than from unrelated instances of poll workers simply not

performing their jobs well, the cases to which defendants cite are readily distinguishable. See

Defs.’ Mem. 21 & n.13. In Foley v. City of Lafayette, 359 F.3d 925 (7th Cir. 2004), the plaintiff

could point to no city policy that had contributed to a one-time temporary elevator outage

affecting only him. In Tanner v. Wal-Mart Stores, Inc., No. 99-44-JD, 2000 WL 620425

(D.N.H. Feb. 8, 2000), the plaintiffs pursued a one-time failure to remove shopping carts and ice

from a handicapped parking space on a particular day, without any allegation that this failure was

systemic or caused by an identifiable policy or practice. Here, plaintiffs have alleged multiple

experiences over three years of encountering hurdles and risks when voting. They have also

identified specific Board policies that caused these harms. 10 Together, these experiences amount

to a denial of an equal opportunity to vote, in violation of the ADA and Section 504.



10
  Defendants’ reliance on J.D. v. Georgetown Indep. Sch. Dist., No. A-10-CA-717 LY, 2011 WL
2971284
(W.D. Tex. July 21, 2011), for the proposition that “[a]cts of negligence do not come within the
ambit of the ADA” is even more misplaced. Defs.’ Mem. 21 n.13. In J.D., the court held that a


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       3. Defendants’ actions do not fall within the ambit of any safe harbor.

       The Help America Vote Act (“HAVA”) and the ADA do not provide a safe harbor, as the

Board contends, Defs.’ Mem. 22, for the failure of its one BMD at Ms. Sager’s polling place. In

requiring “at least” one accessible voting machine at each polling place, HAVA sets a floor, not

a ceiling that limits the scope of the ADA and Section 504. 52 U.S.C. § 21081(a)(3)(B); see Cal.

Council of the Blind, 985 F. Supp. 2d at 1244–45 (finding no conflict between the requirements

of HAVA on the one hand and the ADA and Section 504 on the other). If Maryland needs to

provide more BMDs to ensure blind voters’ equal opportunity to vote, it must do so. See Nat’l

Fed’n of the Blind v. Lamone, No. CIV.A. RDB-14-1631, 2014 WL 4388342, at *5 (D. Md.

Sept. 4, 2014) (requiring the Board to offer accessible absentee voting system even though the

voting machines it used for in-person voting were compliant with HAVA), aff’d 813 F.3d 494

(4th Cir. 2016).

       The Board’s reliance on 28 C.F.R. § 35.133(b) fares no better. The Board claims that it

gets a free pass when the one accessible voting machine at a poll breaks down on election day

because § 35.133(b) states that the ADA “does not prohibit isolated or temporary interruptions in

service or access due to maintenance or repairs.” See Defs.’ Mem. 22. The Board ignores that

such temporary disruptions must be “due to maintenance or repairs,” not simply an unexpected

breakdown. The Board does not (and at this stage, cannot) claim that the BMD at Ms. Sager’s

polling site was undergoing maintenance or a repair on election day; instead, it was simply

broken on the one day when it was needed. This is not the kind of service disruption excused by

the regulation. See, e.g., Cal. Council of the Blind, 985 F. Supp. 2d at 1240 (holding that 28



heightened pleading standard applied to Section 504 and ADA claims when they concern the
denial of adequate educational services by schools—a standard requiring a showing that the school
acted with “bad faith or gross misjudgment.” 2011 WL 2971284, at *7. Defendants do not argue
that a similar standard applies here.

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C.F.R. § 35.133(b) did not shield the county from liability under the ADA where accessible

voting machines were inoperable on election day not because of “maintenance or repairs,” but

because of the county’s broader policies).

        The same regulation also provides: “[a] public entity shall maintain in operable working

condition those features of facilities and equipment that are required to be readily accessible to

and usable by persons with disabilities by the Act or this part.” § 35.133(a). As the Department

of Justice has explained, “allowing obstructions or ‘out of service’ equipment to persist beyond a

reasonable period of time would violate this part . . . . Failure of the public entity to . . . arrange

prompt repair of . . . other equipment intended to provide access would also violate this part.” 28

C.F.R. Pt. 35, App’x B. 11 There is no “reasonable period of time” for the single accessible

voting machine at a poll to be broken on election day—voters may have little time to vote and

cannot wait hours for the opportunity. The only reasonable course of action to protect plaintiffs’

right to vote privately and independently, and under the same conditions as sighted voters, is to

ensure that enough machines are available so that a breakdown of one does not render the whole

enterprise inaccessible.

        4. The Board cannot prevail on a motion to dismiss by drawing factual inferences
           in its favor.

        The Court should reject the Board’s invitation to make inferential leaps in support of its

motion. With respect to Plaintiff Marie Cobb, the Board questions whether having a trained poll

worker assist Ms. Cobb would have shortened the time it took her to vote. Defs.’ Mem. 23 n.15.

Common sense dictates that if a voter encounters an unplugged machine that no one knows how

to use, has to make a phone call for remote assistance, and ultimately rely on an untrained minor


11
  This interpretation is entitled to Auer deference. Auer v. Robbins, 519 U.S. 452, 461 (1997) (In
agency’s interpretation of its own regulation is “controlling unless plainly erroneous or
inconsistent with the regulation.”) (internal quotation marks and citations omitted).

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to configure a voting machine for her—before she even starts reviewing her ballot or making

selections—it will take significantly longer to vote than walking into one’s polling place,

receiving brief instructions from a trained poll worker, and immediately being able to use a

voting machine that has already been set up. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)

(“Determining whether a complaint states a plausible claim for relief will . . . be a context-

specific task that requires the reviewing court to draw on its judicial experience and common

sense.”). The Court is neither required nor permitted to accept the Board’s postulate to the

contrary at this stage of the proceedings. See Hall, 846 F.3d at 765 (requiring a court to draw all

reasonable inferences in plaintiffs’ favor at the motion to dismiss stage).

       Once again filling in its preferred version of facts from the complaint’s silence, the Board

argues that Ms. Sager’s experience should be discounted, because its policy is to fix or replace

broken machines within two hours on election day and there are no allegations that this did not

occur. Defs.’ Mem. 22. According to the complaint, in the approximately 50 minutes Ms. Sager

spent at her polling site, the machine never became operable, nor was she told that it would be

working at some later point that day. Compl. ¶ 39. Plaintiffs allege that the poll worker

instructed Ms. Sager to vote with assistance; the poll worker did not inform Ms. Sager she could

return in two hours when the machine would be replaced or fixed, even if that were a reasonable

solution under the circumstances (which plaintiffs do not concede). Compl. ¶ 39. The Court can

reasonably infer that the poll worker had no plan to fix or replace the machine and that it was not

fixed. Accordingly, plaintiffs have sufficiently alleged a denial of equal opportunity in violation

of Title II and Section 504.

   B. Plaintiffs’ proposed relief is reasonable.

       In arguing that plaintiffs’ proposed relief is unreasonable, defendants miss that under the

effective communication regulation, 28 C.F.R. § 35.160, plaintiffs need not establish the

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reasonableness of their proposed auxiliary aid or service (in this case, expanded use of the BMD

to render it an equally effective aid). A public entity must implement an auxiliary aid or service

simply upon a showing that the aid or service is “appropriate” and “necessary,” in that it will

“afford individuals with disabilities . . . an equal opportunity to participate in, and enjoy the

benefits of, a service, program, or activity of a public entity.” 28 C.F.R. § 35.160 (b)(1) (stating

that a public entity “shall” provide the auxiliary aid or service); Prakel v. Indiana, 100 F. Supp.

3d 661, 683 (S.D. Ind. 2015) (distinguishing mandatory nature of auxiliary aid requirement in

effective communications regulation, 28 C.F.R. § 35.160(b)(1), from requirement under 28

C.F.R. § 35.130(b)(7) that modifications be reasonable).

       Nevertheless, plaintiffs’ proposed relief is reasonable. As the Board admits, “[t]he

burden of establishing the reasonableness of an accommodation is ‘not a heavy one’; ‘it is

enough for the plaintiff to suggest the existence of a plausible accommodation, the costs of

which, facially, do not clearly exceed its benefits.’” Defs.’ Mem. 24 (quoting Henrietta D. v.

Bloomberg, 331 F.3d 261, 280 (2d Cir. 2003)). The Board further acknowledges that the

“determination of the reasonableness of a proposed modification is generally fact-specific.” Id.

(citing Halpern v. Wake Forest Univ. Health Sciences, 669 F.3d 454, 464 (4th Cir. 2012)).

       The Court has not had the benefit of any discovery concerning the actual costs of

plaintiffs’ proposed relief or the benefits it might bestow upon all Maryland voters. Without

such, it cannot determine that plaintiffs’ proposed relief is unreasonable as a matter of law, as

defendants argue. Defs.’ Mem. 23–26. The Board faces an uphill battle on that front,

particularly given that plaintiffs’ supposedly “unreasonable” request was one of three options

proposed by the Maryland Attorney General in his 2013 opinion on the issue of avoiding

segregated ballots. See 98 Md. Op. Att’y Gen. at 153 (opining that the Board could “require all

voters to use a voting system that is accessible to voters with disabilities”). It is perplexing that

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the Board’s counsel would now characterize their previous proposal as unreasonable as a matter

of law.

          Furthermore, it cannot be unreasonable to ask all voters to use machines to mark their

ballots when this is exactly how Maryland conducted elections for more than a decade until

2016. Compl. ¶ 20. Nor can requiring or encouraging all voters to use BMDs be unreasonable

when several other jurisdictions in the United States, including the state of West Virginia,

already follow this practice. Compl. ¶ 44. The use of the BMDs would not compromise the

legislature’s purpose in changing its voting program, because they leave a paper trail, which is

all the General Assembly required. See Md. Code Ann., Elec. Law § 9-102. In light of the

Board’s extensive experience with operating a machine-only voting system, it is reasonable to

require the Board to return to having one unified system of voting in Maryland whereby voters

with and without disabilities all use the same machines to vote unless they affirmatively request

to hand mark their ballot.

          The Board’s claim of “undue hardship,” Defs.’ Mem. 24, is simply a thinly-veiled

attempt to raise the affirmative defense of undue burden and to shift to plaintiffs the

responsibility to establish that their proposed relief would not pose such a burden. Under the

ADA, undue burden is an affirmative defense, and it is the defendant’s responsibility to prove it.

Innes v. Bd. of Regents of the Univ. Sys. of Md., No. CIV.A. DKC 13-2800, 2015 WL 1210484,

at *7 (D. Md. Mar. 16, 2015); 28 C.F.R. § 35.164. Plaintiffs need not anticipate and disprove

undue burden at the pleadings stage.

          Even taken at face value, defendants’ “undue hardship” argument fails to render

plaintiffs’ requested relief unreasonable. First, the Board has now retracted its argument that an

adequate number of BMDs cannot be made available in time for the 2020 elections. Compare

Defs.’ Mem. 24–25 with Supp. Mem. Supp. Defs.’ Mot. Dismiss, ECF No. 19. The Board’s

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supplemental filing makes clear that the Board could obtain enough BMDs and BMD activation-

card printers to make BMDs the default voting method in Maryland months before the April

2020 primary election. 12

       Second, the Board argues that the cost of making BMDs the default voting option would

be too high, based entirely on a legislative fiscal note of which it asks the Court to take judicial

notice. Defs.’ Mem. 10 n.6, 25. The Board cites no authority that supports accepting a cost

estimate in a fiscal note as fact. While courts consider legislative history to help determine

legislative intent, see Moore v. State, 388 Md. 623, 635 n.4 (2005), there is no reason that the

statements made therein must be accepted as true, particularly at the pleadings stage before the

evidence supporting and perhaps undermining such statements can be explored. Moreover, the

fact that the legislature believed that the costs were too high does not establish that it was so for

purposes of the ADA; 13 otherwise government would nearly always be able to make out an

undue burden defense when it failed to open its programs to people with disabilities because of

assumed costs.

       Ultimately, the costs and benefits of plaintiffs’ proposed relief are factual matters not

suitable for decision on the pleadings. See, e.g., Innes, 2015 WL 1210484, at *8–9 (Title II case

evaluating cost of plaintiffs’ proposed modification and financial resources available to



12
   Even if the Board could not implement plaintiffs’ relief in time for one or both of the 2020
elections, this would not render plaintiffs’ requested relief unreasonable. Plaintiffs have demanded
that BMDs be used as the default method of voting in “all future elections,” not simply the 2020
elections. Compl. p.19.
13
  This is additionally so given that the undue burden determination “must be based on all resources
available for use in the program,” which includes not just budgeted line items but the overall
resources available to the Board, whether from the state or other funding sources. Title II
Technical Assistance Manual, Title II Technical Assistance Manual at § II-5.1000,
https://www.ada.gov/taman2.htm (last visited Sept. 17, 2019); Reyazuddin v. Montgomery Cty.,
Md., 789 F.3d 407, 418 (4th Cir. 2015); Culvahouse v. City of LaPorte, 679 F. Supp. 2d 931, 944–
46 (N.D. Ind. 2009).

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defendants and determining a genuine dispute of material fact existed that prevented summary

judgment on this issue). Plaintiffs have therefore met their burden to plead a reasonable remedy.

   C. The statute of limitations does not bar plaintiffs’ claims.

       The Board’s denial of an equal voting experience to individuals with disabilities has been

“a fixed and continuing practice” from April 2016 through today. See A Soc’y Without A Name

v. Virginia, 655 F.3d 342, 348 (4th Cir. 2011) (internal quotation marks omitted). Where

unlawful conduct occurs not just once, but “in a series of separate acts,” with the “same alleged

violation . . . committed at the time of each act, . . . the limitations period begins anew with each

violation.” Id. (internal quotation marks omitted); cf. Williams v. Silver Spring Volunteer Fire

Dep’t, 86 F. Supp. 3d 398, 411 (D. Md. 2015) (“[I]f one act in a continuous history of

discriminatory conduct falls within the [statutory] period, then acts that are plausibly or

sufficiently related to that act, which fall outside the [statutory] period, may be considered for

purposes of liability.”) (internal quotation marks omitted). Ms. Cobb’s and Ms. Sager’s

experiences voting in the April 2016 primary election were the start of a continuing violation of

their civil rights that has continued through the most recent election in November 2018. Compl.

¶¶ 39, 41. Indeed, Ms. Cobb and Ms. Sager refer to their experiences voting in the 2016 primary

only as part of their broader description of the difficulties they have encountered voting in every

election since Maryland changed to paper ballots in 2016. Id ¶ 39 (alleging that Ms. Sager “has

had varying levels of difficulty voting in every election since the Board transitioned to paper

ballots and BMDs in 2016”); id ¶ 41 (alleging that Ms. Cobb “has had difficulty voting in every

election since 2016” and “has been required to spend between half an hour to an hour trying to

vote, even though there has been no line at her polling place”). The Board’s argument that

plaintiffs’ claims arising from the 2016 primary election are barred by the three-year statute of

limitations, Defs.’ Mem. 18–19, is therefore unavailing.

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        Even if the allegations related to the 2016 primary were not part of a continuing violation,

plaintiffs’ experiences during the 2016 primary may still be used as evidence of the effects of the

Board’s policy of maintaining separate and unequal voting systems. “Statutes of limitations do

not operate as an evidentiary bar controlling the evidence admissible at the trial of a timely-filed

cause of action.” Brinkley-Obu v. Hughes Training, Inc., 36 F.3d 336, 346 (4th Cir. 1994).

Furthermore, plaintiffs do not raise separate claims for each election, nor do they seek damages.

Their claims and available remedies remain the same regardless of whether they encompass the

last four or only the last three elections. Statute of limitations issues should therefore have no

effect on the progress of this suit.

    II. Defendants Do Not Satisfy the Fundamental Alteration Defense.

        Plaintiffs’ proposal to require the Board to offer the BMD as the default option for in-

person voting does not constitute a fundamental alteration as a matter of law. As the Board

concedes, “the fundamental alteration analysis is typically not appropriate at the motion-to-

dismiss stage.” Defs.’ Mem. 27 (citing Radaszewski ex rel. Radaszewski v. Maram, 383 F.3d

599, 614 (7th Cir. 2004)). “Defendants bear the burden of proving that the requested

modification would be a fundamental alteration to the program.” Lamone I, 813 F.3d at 508

(citing 28 C.F.R. § 35.130(b)(7)).

        Defendants cannot satisfy their burden. Plaintiffs do not ask the Board to allow voters to

cast their ballots by raising their hands or some other means not already contemplated by the

current voting system. Plaintiffs merely request that the Board adopt a procedure already

proposed by the Maryland Attorney General and in use by some voters. 98 Md. Op. Att’y Gen.

at 153. Indeed, the Board ran an all-machine voting system from 2004 until 2016; it transitioned

away from that system to generate a paper trail. Plaintiffs do not ask that the Board revert to its

old machines that both mark and cast ballots, only that it present its new, accessible BMDs—

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which generate the required paper trail—as the default voting option and provide paper ballots

upon request.

       This request is in line with others that promote the rights of voters with disabilities and

that courts have found do not fundamentally alter defendants’ voting programs. Lamone I, 813

F.3d at 509–10 (affirming that requiring the Board to send and allow for the marking of absentee

ballots electronically would not fundamentally alter paper-based absentee voting program

because “[r]equiring public entities to make changes to rules, policies, practices, or services is

exactly what the ADA does”) (internal quotation marks and citation omitted); Disabled in

Action, 752 F.3d at 202 (holding that order requiring assessments and monitoring of polling sites

to address mobility and vision disability access would not fundamentally alter city voting

program).

       The Board relies on Montalvo v. Radcliffe, 167 F.3d 873, 879 (4th Cir. 1999), an appeal

of a bench trial decision, for the proposition that program-wide alterations are not required under

the ADA. Defs.’ Mem. 27. Yet Montalvo does not stand for such a broad proposition. The

Montalvo court held that plaintiffs’ proposed modification—a softer karate teaching style—was

not required because it would force the defendant, which ran a “hard-style Japanese karate . . .

with a heavy emphasis on sparring and actual-fight simulation,” to “abandon its essential mission

and to offer a fundamentally different program.” Montalvo, 167 F.3d at 876, 879. Where, as

here, a requested modification would not alter the essential mission or purpose of a program,

there is no reason why a program-wide alteration would be impermissible. Furthermore, the

Board’s essential mission is to “ensure compliance with the requirements of Maryland and

federal election laws by all persons involved in the election process.” About SBE, The State

Board of Elections, https://www.elections.maryland.gov/about/index.html (last visited Sept. 16,

2019). Plaintiffs’ proposed relief is fully consistent with this mission.

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   III. Plaintiffs’ Claims Are Not Moot.

       The Board’s recent minor changes to its policies do not moot plaintiffs’ claims.

Defendants claiming mootness bear “the formidable burden of showing that it is absolutely clear

the allegedly wrongful behavior could not reasonably be expected to recur.” Friends of the

Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 190 (2000) (citation omitted). A

case is moot only “when it is impossible for a court to grant any effectual relief whatever to the

prevailing party.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 669 (2016) (internal quotation

marks and citations omitted). “As long as the parties have a concrete interest, however small, in

the outcome of the litigation, the case is not moot.” Id. (internal quotation marks and citations

omitted). Furthermore, “[i]t is well settled that ‘a defendant’s voluntary cessation of a

challenged practice does not deprive a federal court of its power to determine the legality of the

practice.’” Friends of the Earth, 528 U.S. at 189 (citations omitted); see City of Mesquite v.

Aladdin's Castle, Inc., 455 U.S. 283, 289 (1982) (refusing to find case moot where challenged

statute was repealed during litigation because legislature could simply reenact law at later date);

N.Y. St. Nat’l Org. for Women v. Terry, 159 F.3d 86, 91–92 (2d Cir. 1998) (finding that although

defendants had not violated the permanent injunction in over seven years, the case was not moot

because it was “by no means absolutely clear that defendants’ violations of the district court’s

orders could not reasonably be expected to recur”) (internal quotation marks and citation

omitted). If voluntary cessation were enough to moot a case, a defendant would be “free to

return to his old ways.” United States v. W. T. Grant Co., 345 U.S. 629, 632 (1953). In

particular, last minute “maneuvers designed to insulate a decision from review by this Court

[through claimed mootness] must be viewed with a critical eye.” Knox v. Serv. Emps. Int’l

Union, Local 1000, 567 U.S. 298, 307 (2012) (citation omitted).




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       Given the formidable burden of establishing mootness, the Board’s last-minute policy

change, coming this past summer only after plaintiffs threatened litigation, does not moot

plaintiffs’ claims. Without a permanent injunction, any or all of the Board’s recent policy

changes could be rescinded at a future Board meeting. But more importantly, the Board’s

written policy is only part of the problem. The practices on the ground—for four consecutive

elections—of failing to carry out the policies that were in place demonstrate a systemic problem

with the Board’s implementation of its policies. If the Board could not get all precincts to

comply with the two-voter minimum in the past three elections, even once it was on notice of

violations, establishing a five-voter minimum will not avert the harm. Thus, it is by no means

“absolutely clear the allegedly wrongful behavior could not reasonably be expected to recur.”

Friends of the Earth, 528 U.S. at 190.

       Finally, the Board’s recent policy changes, even if followed, are unlikely to remedy the

violations of plaintiffs’, and other blind voters’, rights under the ADA and Section 504. The

Board now “authorizes,” but does not require, local boards to have a second BMD at each

precinct. Defs.’ Mem. 29. Simply allowing, but not requiring, polling sites to have a second

BMD would not prevent a situation like Ms. Sager experienced in November 2018 from

occurring again, where the only BMD at her precinct was not working and she required

assistance to vote.

       Nor will these policy changes ensure that the BMDs are readily usable by voters once

installed in precincts. The Board was required to provide BMDs, and therefore poll workers

capable of operating them, for the past four elections, but failed to do so. Compl. ¶¶ 39, 41. The

Board’s policy changes do not call for more training in this needed area; instead, they simply call

for increased poll worker training “around how voters are notified about the availability of the

BMDs.” Defs.’ Mem. 29. Even if voters are properly notified that they can use the BMDs and

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the BMDs are presented neutrally as another voting option, if poll workers are not familiar with

how to set up and use them and there are not enough BMDs for all voters to use, it is unlikely

many voters will opt to use the BMDs rather than paper ballots. The fewer voters who use the

BMDs, the less familiar poll workers will be with the machines, and the cycle of separate and

unequal voting will continue.

       Finally, whether requiring five voters is enough to ensure a secret ballot is a question of

fact on which discovery is needed. It may be that five users is not sufficient, as a matter of

probability, to protect the privacy of the voters who use the BMDs.

         The Board’s recent policy changes do not make it “absolutely clear” that plaintiffs will

have an equal voting experience in 2020 and beyond. See Friends of the Earth, Inc., 528 U.S. at

190. Thus, plaintiffs’ claims are not moot.




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                                     CONCLUSION

      For the foregoing reasons, defendants’ Motion to Dismiss should be denied.



Dated: September 17, 2019                 Respectfully submitted,


                                                         /s/
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